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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

KAREN TATUM,                  )
                              )
         Plaintiff,           )
                              )
     vs.                      )                              Case No. 4:23 CV 1219 RWS
                              )
ILLINOIS CENTRAL SCHOOL BUS )
LLC d/b/a NORTH AMERICA       )
CENTRAL SCHOOL BUS LLC, d/b/a )
MISSOURI CENTRAL SCHOOL BUS, )
LLC, et al.,                  )
                              )
         Defendants.          )

                            MEMORANDUM AND ORDER

         This matter is before the Court on the unopposed motion to dismiss filed by

defendant Laborers’ International Union of North America, Local 773 (Union).1

Plaintiff was granted leave to amend her complaint in this employment

discrimination case to add the Union as a defendant because she represented to the

Court that she had filed a Charge of Discrimination against, and obtained a right-to-

sue letter for, the Union. ECF 77. Plaintiff had previously been instructed that if

she were attempting to sue the Union “under Title VII, the ADA, or the ADEA, she



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  Plaintiff, a self-represented litigant, was granted a substantial extension of time to respond to
the Union’s motion to dismiss. ECF 143. Despite the extension of time, plaintiff failed to file an
opposition to the motion to dismiss, and her time for doing so has now expired. Plaintiff was
warned that her failure to timely respond would result in the Court’s consideration of the motion
without further notice. Id.
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would have had to first filed a Charge of Discrimination against the union (not just

the North American Central School Bus, LLC) at the EEOC, and then obtained a

Right to Sue.” ECF 5 at 10 n.3.

         To the extent the Second Amended Complaint brings employment

discrimination claims against the Union,2 it now moves to dismiss them3 for

plaintiff’s failure to exhaust administrative remedies. The Union maintains that

plaintiff has not, in fact, named it as a charged party in a Charge of Discrimination

filed with the EEOC or obtained a Right to Sue letter as to any such Charge. The

Union’s unopposed motion is well-taken. The only Charge of Discrimination

provided by plaintiff appears in the record as ECF 1-5 and names only the North

American Central School Bus LLC and the Illinois Central School Bus LLC

companies (which are actually the same defendant) as the charged party. Plaintiff

was previously instructed that this Charge of Discrimination was insufficient to

bring discrimination claims against the Union. ECF 5 at 10 n.3. Plaintiff was further



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  Plaintiff’s Second Amended Complaint alleges failure to accommodate, retaliation and
discrimination in violation of the Americans with Disabilities Act (ADA) (Counts I, II, and VI),
age discrimination in violation of the Age Discrimination in Employment Act (ADEA) (Count
III), and a “hostile work environment” under the ADA and ADEA. (Count V). ECF 78. The
Counts are alleged against defendants, but the allegations (except for one allegation in Count V)
relate solely to actions taken by defendant’s employer, not the Union. In Count V, plaintiff
alleges that defendants conspired to dismiss her grievances. Id. at 35. Count IV alleges a
breach of the collective bargaining agreement by the Union. Id. at 29.
3
 The Union cites Federal Rules of Civil Procedure 12(b)(1) and (6) in its motion, but failure to
exhaust an administrative remedy does not deprive the Court of subject matter jurisdiction. This
motion is decided under Fed. R. Civ. P. (b)(6) only.
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instructed that to avoid dismissal she must “include as exhibits the complete charge

of discrimination plaintiff alleges she filed against the defendant union, together with

a complete copy of the right to sue letter issued on the charge demonstrating that the

union was a charged party.”        ECF 143.     Plaintiff has failed to provide such

information despite repeated notice and ample opportunity to do so. Id.

      Under Federal Rule of Civil Procedure 12(b)(6), a party may move to dismiss

a claim for “failure to state a claim upon which relief can be granted.” The notice

pleading standard of Federal Rule of Civil Procedure 8(a)(2) requires a plaintiff to

give “a short and plain statement showing that the pleader is entitled to relief.” To

meet this standard and to survive a Rule 12(b)(6) motion to dismiss, “a complaint

must contain sufficient factual matter, accepted as true, to state a claim to relief that

is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal

quotations and citation omitted). This requirement of facial plausibility means the

factual content of the plaintiff’s allegations must “allow[ ] the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Park

Irmat Drug Corp. v. Express Scripts Holding Co., 911 F.3d 505, 512 (8th Cir. 2018)

(quoting Iqbal, 556 U.S. at 678). The Court must grant all reasonable inferences in

favor of the nonmoving party. Lustgraaf v. Behrens, 619 F.3d 867, 872-73 (8th Cir.

2010). Ordinarily, only the facts alleged in the complaint are considered for

purposes of a motion to dismiss; however, materials attached to the complaint may


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also be considered in construing its sufficiency. Reynolds v. Dormire, 636 F.3d 976,

979 (8th Cir. 2011).

      When ruling on a motion to dismiss, a court “must liberally construe a

complaint in favor of the plaintiff.” Huggins v. FedEx Ground Package Sys., Inc.,

592 F.3d 853, 862 (8th Cir. 2010). However, if a claim fails to allege one of the

elements necessary to recover on a legal theory, the Court must dismiss that claim

for failure to state a claim upon which relief can be granted. Crest Constr. II, Inc. v.

Doe, 660 F.3d 346, 355 (8th Cir. 2011). Threadbare recitals of a cause of action,

supported by mere conclusory statements, do not suffice. Iqbal, 556 U.S. at 678;

Bell Atlantic v. Twombly, 550 U.S. 544, 555 (2007). Although courts must accept

all factual allegations as true, they are not bound to take as true a legal conclusion

couched as a factual allegation. Twombly, 550 U.S. at 555 (internal quotations and

citation omitted); Iqbal, 556 U.S. at 677–78.

      The anti-discrimination statutes cited in plaintiff’s second amended complaint

require a plaintiff to timely file a charge of discrimination with the EEOC before

filing suit in federal court. See 42 U.S.C. § 12117(a) (ADA); Section 2000e-5(e)(1)

(Title VII); 29 U.S.C. § 626(d)(1)(A) (ADEA). “The purpose of filing a charge with

the EEOC is to provide the Commission an opportunity to investigate and attempt a

resolution of the controversy through conciliation before permitting the aggrieved

party to pursue a lawsuit.” Cobb v. Stringer, 850 F.2d 356, 359 (8th Cir. 1988)


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(citations omitted). Thus, “as a general rule, a complainant must file a charge against

a party with the EEOC before she can sue that party.” Sedlacek v. Hach, 752 F.2d

333, 336 (8th Cir. 1985); see also Voss v. Hous. Auth. of the City of Magnolia,

Arkansas, 917 F.3d 618, 623 (8th Cir. 2019) (“The ADA requires a plaintiff to file

a complaint with the EEOC before filing a suit in federal court.”); Moses v. Dassault

Falcon Jet-Wilmington Corp., 894 F.3d 911, 919 (8th Cir. 2018) (“To assert an ADA

or ADEA claim, plaintiff must have first exhausted administrative remedies by filing

a charge of discrimination with the EEOC.”) (cleaned up).

         As plaintiff has failed to provide any evidence that she actually filed a Charge

of Discrimination against the Union and received a Right to Sue Letter thereon, the

motion to dismiss discrimination claims brought against the Union for failure to

exhaust administrative remedies is granted.4 Counts I-III, V and VI of the second

amended complaint, to the extent they assert discrimination claims against the Union

for violations of the ADA, ADEA, and/or Title VII, are dismissed.

         In Count IV plaintiff brings a claim against defendants entitled “Breach of the

Collective Bargaining Agreement with [the Union].” Plaintiff alleges that the Union




4
  Although a plaintiff may bring suit against a party not named in the EEOC charge if “the
unnamed party has been provided with adequate notice of the charge, under circumstances where
the party has been given the opportunity to participate in conciliation proceedings aimed at
voluntary compliance,” Boyd v. BJC Health System, 2018 WL 620484, at *5 (E.D. Mo. Jan. 29,
2018) (cleaned up), no such argument has been made by plaintiff in this case.

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failed to adequately address her grievances and breached its duty of fair

representation by failing to advocate on her behalf. ECF 78 at 31.

      The Union argues that plaintiff’s claim asserted against it in Count IV must

be dismissed because it was not filed within six months of the alleged breach of the

duty of fair representation. The second amended complaint alleges that the breach

occurred when the Union failed to obtain a “favorable outcome” for her. The

applicable statute of limitations for a Section 301 claim is the six month limitation

period found in Section 10(b) of the National Labor Relations Act. DelCostello v.

Int’l Broth. Of Teamsters, 462 U.S. 151 (1983).          Although plaintiff’s second

amended complaint is devoid of facts explaining how the Union breached its duty of

fair representation, her claim against the Union accrued at the very latest March 27,

2023, when she was “laid off indefinitely.” ECF 78 at 14. At least on that date, if

not much earlier, the Union’s alleged breach of duty should have been apparent.

Plaintiff knew of the alleged breach of the duty after the grievance process, since she

claims the Union failed to adequately pursue her complaints through that process.

Yet plaintiff’s second amended complaint alleging the Union’s breach of the duty to

fairly represent her was not filed until November 13, 2024, nearly seventeen months

later. These claims are clearly time-barred.

      Nor does any “relation back” argument under Federal Rule of Civil Procedure

15 render plaintiff’s claims against the Union timely. Although plaintiff named the


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Union in the caption of the original complaint filed on September 27, 2023, she was

ordered to amend her complaint due to the numerous pleading deficiencies identified

by the Court in its December 19, 2023 Memorandum and Order. ECF 4. As

explained above, one of those deficiencies involved plaintiff’s attempt to assert

claims against the union. ECF 5 at 10 n.3. Plaintiff was specifically warned that the

amended complaint would replace the original complaint and render it without legal

effect. Id. She was also instructed to name each person she intended to sue and to

set forth a short and plain statement of her claim as to each defendant. Id. at 11.

      After receipt of the Court’s instructions, plaintiff submitted an amended

complaint on January 30, 2024, which superseded her original complaint and did not

name the Union as a defendant. ECF 19, 24. For that reason, the Court ordered the

Union stricken from the docket sheet as a defendant. ECF 24 at 9. Plaintiff did not

seek to bring claims against the Union again until the filing of the second amended

complaint in November of 2024. Under these circumstances, there can be no tolling

of the statute of limitations as to plaintiff’s claims against the Union, and there is no

relation back to the operative complaint, which here is the amended, rather than the

original, complaint.

      Based on the foregoing, plaintiff’s claim against the Union for breach of the

duty of fair representation as alleged in Count IV of the second amended complaint

is time barred and must be dismissed. See Rogers v. Amalgamated Transit Union


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Local 788, Case No. 4:08CV1649 HEA, 2009 WL 2757049, at *2 (E.D. Mo. Aug.

26, 2009).

      Accordingly,

      IT IS HEREBY ORDERED that the motion to dismiss [131] is granted, and

plaintiff’s claims asserted against defendant Laborers’ International Union of North

America, Local 773 are dismissed with prejudice.




                                      RODNEY W. SIPPEL
                                      UNITED STATES DISTRICT JUDGE

Dated this 24th day of March, 2025.




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